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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

GENBAND US LLC,                                §
                                               §
       Plaintiff,                              §
                                               §
v.                                             §
                                               §         Case No. 2:14-cv-33-JRG-RSP
METASWITCH NETWORKS LTD;                       §
METASWITCH NETWORKS CORP.,                     §
                                               §
       Defendants.                             §


                                           ORDER

       Before the Court is Metaswitch Networks Ltd. and Metaswitch Networks Corp.’s

(“Metaswitch’s”) “Objections to the Report and Recommendation on Motions for Summary

Judgment (Dkt. No. 408),” which was filed herein on January 9, 2016 (Dkt. No. 430).

       Metaswitch asks this Court to reconsider the Magistrate Judge’s Report and

Recommendation (Dkt. No. 430) regarding Metaswitch’s motion for summary judgment of no

indirect infringement after April 14, 2014 (Dkt. 254) and Metaswitch’s motion for summary

judgment of invalidity under 35 U.S.C. § 101 (Dkt. 255). Under Rule 72(b), the Court is to

determine de novo any part of the Magistrate Judge’s disposition that has been properly objected

to. Fed. R. Civ. P. 72(b).

       Having reviewed de novo the record and the Magistrate Judge’s report and

recommendation regarding Metaswitch’s motions for summary judgment, the Court hereby

ACCEPTS and adopts in full the report and recommendation of the Magistrate Judge.

       Metaswitch’s Objections to the Report and Recommendation on Motions for Summary

Judgment (Dkt. No. 408) are DENIED.
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   SIGNED this 19th day of December, 2011.
  So ORDERED and SIGNED this 12th day of January, 2016.




                                             ____________________________________
                                             RODNEY GILSTRAP
                                             UNITED STATES DISTRICT JUDGE




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